






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-12-00356-CV






Gerald Duane Thomas, Appellant


v.


Stuart Petree and Capital Resources, LLC, Appellees






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 419TH JUDICIAL DISTRICT

NO. D-1-GN-10-004466, HONORABLE SCOTT H. JENKINS, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N



		Appellant Gerald Duane Thomas filed his notice of appeal in the trial court in
May&nbsp;2012.  On September 10, 2012, the Clerk of this Court sent a second request to Thomas,
notifying him that the clerk's record and the reporter's record were overdue.  The Clerk requested
a response regarding this matter by September 20, 2012, and notified Thomas that his appeal would
be dismissed for want of prosecution if he did not respond to this Court by that date.  Thomas has
not responded to this Court's notice.  Accordingly, we dismiss the appeal for want of prosecution. 
See Tex. R. App. P. 42.3(b), (c).



						__________________________________________

						Melissa Goodwin, Justice

Before Chief Justice Jones, Justices Rose and Goodwin

Dismissed for Want of Prosecution

Filed:   November 2, 2012


